         Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 1 of 11




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES                       )
                                    )
      v.                            )                 Criminal No. 1:21-cr-525-ABJ-1
                                    )
SAMUEL LAZAR                        )
                  Defendant.        )
                                    )
____________________________________)


             DEFENDANT’S MOTION FOR RECONSIDERATION OF
                 PRETRIAL DETENTION AND REQUEST TO
       STAY DEFENDANT’S TRANSPORT TO THE DISTRICT OF COLUMBIA

       Samuel Lazar, by and through undersigned counsel, respectfully moves this Honorable

Court, pursuant to 18 U.S.C. § 3142, to reconsider the order of pretrial detention entered in this

matter and to release him pending trial.

       Mr. Lazar is before this Court charged by indictment with 1) Assaulting, Resisting, or

Impeding Certain Officers Using a Dangerous Weapon, in violation of 18 U.S.C. § 111(a)(1) and

(b); 2) Civil Disorder, in violation of 18 U.S.C § 231(a)(3); 3) Entering and Remaining in a

Restricted Building or Grounds with a Deadly or Dangerous Weapon, in violation of 18 U.S.C.

1752(a)(1) and (b)(1)(A); 4) Engaging in Physical Violence in a Restricted Building or Grounds

with a Deadly or Dangerous Weapon, in violation of 18 U.S.C. § 1752(a)(4) and (b)(1)(A); and

5) Act of Physical Violence in the Capitol Grounds or Buildings, in violation of 40 U.S.C. §

5104(e)(2)(F).

       On July 21, 2021, Mr. Lazar was arrested in this matter and held without bond at the

Federal Detention Center (“FDC”) Philadelphia. On August 31, 2021, the Honorable Judge

Robin Meriweather ordered Mr. Lazar be held without bond pending trial.

                                                 1
          Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 2 of 11




       To date, some discovery has been provided; however, there remains outstanding a

copious amount to be both produced and reviewed. While Mr. Lazar acknowledges the

complexity of this case, he remains detained with very little information about the case against

him and without any semblance of a timeframe as to when he may expect his case to move

forward or go to trial.

       While these factors alone are not determinative, they underscore the need for the

government to identify a specific, “articulable threat” of dangerousness in order to justify

preventative detention. Munchel v. United States¸ 991 F.3d 1273, 1283 (D.C. Cir. 2021). Under

now controlling Circuit precedent, such an articulation must specifically explain why the danger

exceeds the scope of the events January 6th, 2020. Id. The government has not done so in this

case and this Court should release Mr. Lazar with conditions of supervision.

       Background

       Mr. Lazar is thirty-five (35) years old and lives with his partner in Ephrata,

Pennsylvania.1 He is highly self-motivated and supports himself through a variety of business

endeavors, including buying and reselling restaurant equipment and antiques, “flipping” real

estate properties, and e-commerce. Mr. Lazar also has training as a carpenter and takes on home

improvement jobs to support himself and help others in his community. Mr. Lazar’s criminal

record is minimal - he had two misdemeanor convictions nearly twenty (20) years ago, and a

misdemeanor conviction from 2016. See Pretrial Services Report, ECF 10.




1
 Mr. Lazar’s partner, Autumn Hickey, has already been screened and approved by Pretrial
Services as a third-party custodian for Mr. Lazar should he be released.
                                                 2
           Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 3 of 11




         Mr. Lazar’s 2016 Conviction

         In the August 31, 2021, decision to keep Mr. Lazar in custody, the Court relied in part on

proffers made by the Government about the facts surrounding Mr. Lazar’s conviction.2

Specifically, the Government proffered that Mr. Lazar attempted to buy a firearm at a gun show

when he misrepresented his criminal history in an attempt to obtain the firearm. When that

attempt was rejected, the Government proffered that Mr. Lazar attempted to get his brother to

purchase the firearm for him. In fact, Mr. Lazar’s conduct was considerably more

straightforward and less misleading. In 2015, when the conduct occurred, Mr. Lazar went to a

gun store in Millersville, Pennsylvania – not a gun show. Mr. Lazar was interested in purchasing

a firearm and completed the requisite paperwork. At that time, Mr. Lazar’s prior criminal

matters – for which served approximately forty-five (45) days in jail – were over ten years old.

He did not consider and was not aware that his prior misdemeanor convictions were relevant to

his purchase of the firearm. Mr. Lazar failed to read closely the form and unintentionally

misstated his record on the paperwork, ultimately resulting in the charge against him. At the

time, Mr. Lazar’s attempt to purchase the firearm was denied. Mr. Lazar’s brother was with him

at the time to purchase a different item for himself, and when Mr. Lazar’s purchase request was

denied, inquired if he could purchase the firearm instead. Mr. Lazar’s brother was informed this

would be considered a straw purchase and was not allowed. Thus, it did not occur. Mr. Lazar’s

brother was never charged with a crime. Mr. Lazar never attempted to have his brother purchase

a firearm on his behalf.




2
    See Transcript of Continued Detention Hearing at 20, (August 31, 2021), attached as Exhibit A.
                                                  3
            Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 4 of 11




          Photographs From 2020

          In its decision to hold Mr. Lazar without bond, the Court also relied on photographs from

social media submitted by the Government that depict Mr. Lazar holding what appear to be

firearms or objects that look like firearms.3 The Court referenced the Government’s proffer that

this conduct occurred on a public street. Again, the facts here differ from the Government’s

proffer. The small gathering actually took place on private property, not a public street or

sidewalk. The private property is a pizzeria owned by a local businessman who hosted the

individuals during that event. The street can be seen in the background of the photos, but Mr.

Lazar is not actually on public property at all. Further, there is no indication anyone present was

threatened or intimidated by Mr. Lazar. Nor was Mr. Lazar charged as a result of his actions on

that day. He did not behave aggressively, and the incident does not suggest in any way that Mr.

Lazar poses any sort of threat or danger. Any concerns the Court may have as a result of these

photographs can be addressed through conditions of release.

          The Court also has fifteen (15) letters from family, friends, and acquaintances, who

unanimously describe Mr. Lazar as a kind, considerate, hard-working member of their

community. See ECF 12. A child of immigrants, Mr. Lazar is a loyal friend who cares deeply

about his community and his country.

          As of this filing, Mr. Lazar has been in custody for nearly two (2) months, and his case

stretches on with no end in sight. The Government has provided discovery in piecemeal fashion

as it sorts through the massive trove of information associated with January 6. The USAO has

contracted with a private company to facilitate the organization and distribution of discovery, but

there is no specific timetable as to when discovery production will be complete. See 1:21-cr-



3
    See Exhibit A at 21-22.
                                                   4
           Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 5 of 11




378-TJK, ECF 28 (Status Report re Discovery). Nearly sixty (60) days into Mr. Lazar’s

detention, undersigned counsel is in no position to even begin to meaningfully prepare for trial.

In this context, Mr. Lazar’s history as a law-abiding citizen, coupled with the lack of an

articulable present or future danger to the community posed by Mr. Lazar’s release, call for his

release.

                                           ARGUMENT

       Under the Bail Reform Act, 18 U.S.C. § 3141 et seq., a judicial officer “shall order” a

defendant’s detention before trial if, after a hearing, “the judicial officer finds that no condition

or combination of conditions will reasonably assure the appearance of the person as required and

the safety of any other person and the community.” 18 U.S.C. § 3142(e). However, in our

society, liberty is the norm, and detention prior to trial is the carefully limited exception.” United

States v. Salerno, 481 U.S. 739, 755 (1987). Where the government requests pretrial detention,

specific requirements must be fulfilled before a defendant may be detained. In order to warrant

an exception to this presumption of freedom, the Government is required to demonstrate the

appropriateness of pretrial detention by clear and convincing evidence. 18 U.S.C. § 3142(f).

Additionally, the judicial officer considering the propriety of pretrial detention must consider

four factors: (1) [t]he nature and circumstances of the offense charged; (2) the weight of

evidence against the person; (3) the history and characteristics of the person, including . . . the

person’s character, physical and mental condition, family ties, employment, financial resources,

length of residence in the community, community ties, past conduct, history relating to drug or

alcohol abuse, criminal history, and record concerning appearance at court proceedings; . . . and

(4) the nature and seriousness of the danger to any person or the community that would be posed

by the person’s release. 18 U.S.C. § 3142(g).


                                                   5
           Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 6 of 11




       The D.C. Circuit has recently expanded on the fourth factor listed above – the danger to

the community – in the context of the January 6th cases. Specifically, it has held that: “[t]o order

a defendant preventatively detained, a court must identify an articulable threat posed by the

defendant to an individual or the community. The threat need not be of physical violence, and

may extend to “non-physical harms such as corrupting a union. But it must be clearly identified.”

Munchel v. United States¸991 F.3d 1273, 1283 (D.C. Cir. 2021) (citation and internal quotations

omitted).4

       In considering the above factors, Mr. Lazar is not a danger to the community and should

be released pending resolution of this matter. The allegations against Mr. Lazar stand in stark

contrast to his demonstrated history of non-violence and law-abidance. He did not plan for or

prepare for any sort of assault or attack on January 6. Mr. Lazar had knowledge of prior

violence against attendees of rallies and was on alert for his own safety. To that end, Mr.

Lazar’s attire on January 6 was a defensive measure for his own protection. More importantly,

however, he did not bring any weapons or offensive items to the Capitol. In fact, the spray Mr.

Lazar is alleged to have used on January 6th was found by Mr. Lazar on the grounds of the

Capitol.

       Mr. Lazar did not plan or coordinate his presence at the Capitol or his alleged actions

with anyone. He brought a bullhorn to project patriotic and Christian music at the rally. There is



4
 In Munchel, the Circuit did not find that the government had sufficient evidence of
dangerousness where the defendants went to the January 6th rally with tactical vests, a stun gun
and at least a pocketknife. Munchel, 991 F.3d at 1276. They met with members of the Oath
Keepers militia and bragged about “enter[ing] the building with armor and f_ing weapons.” Id.
Once inside, they gathered zip ties and went to the Senate gallery. Id. When agents searched their
home, they found firearms and a “large quantity of loaded magazines.” Id. at 1277. By contrast,
Mr. Lazar is not alleged to have brought any firearms to the Capitol. He is not alleged to have
met with any militia members or even to have planned to be at the Capitol on January 6th, 2021.
Moreover, he never went inside the Capitol, unlike the defendants in Munchel.
                                                 6
           Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 7 of 11




nothing in Mr. Lazar’s past or background to suggest he is prone to violence or would pose a

danger to himself or the community.

       To continue Mr. Lazar’s incarceration would also create inconsistencies with other

January 6th defendants accused of arguably greater misconduct who were granted release. For

example:


       •    United States v. Richard Barnett, 1:21-cr-38-CRC, Barnett entered the Capitol

            building armed with a stun gun, brazenly sat at Speaker Pelosi’s desk and posed for

            photos. He is also alleged to have stolen an envelope from the Speaker’s office. See

            ECF 3 (Amended Complaint and Statement of Facts). Barnett is charged with, inter

            alia, knowingly entering and remaining in any restricted building without lawful

            authority while armed with a dangerous weapon, in violation of 18 U.S.C. §1752. On

            April 27, 2021, the District Judge granted his motion for reconsideration of bail and

            ordered him released into the High Intensity Supervision Program. Id. at ECF 29.

       •    United States v. Robert Sanford, 1:21-cr-52-ZMF, Sanford is alleged to have hurled a

            fire extinguisher into a crowd of police officers and striking at least three officers in

            the head. Video footage allegedly captures Sanford screaming “traitors” and

            “cowards” at the officers. Id. at ECF 10 (Government’s Opposition to Defendant’s

            Motion to Reconsider Detention). Like Mr. Lazar, Sanford is charged with, inter alia,

            assaulting police officer using a dangerous weapon, in violation of 18 U.S.C. §§

            111(a)(1) and (b). On March 2, 2021, the District Judge granted Sanford’s motion for

            release and placed him on GPS monitoring. Id. at ECF 11.

       •    United States v. David Alan Blair, 1:21-cr-86-CRC, Blair was captured on body worn

            camera brandishing a lacrosse stick which served as a pole for a large confederate


                                                   7
    Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 8 of 11




     flag. Id. at ECF 1 (Complaint and Statement of Facts). While walking back and forth

     between the crowd and police officers, Blair is alleged to have exhorted, “hell naw,

     quit backing up, don’t be scared. . .”. As an officer advanced, Blair yelled at the

     officer: “what’s up motherfucker, what’s up, what’s up bitch.” Id. He then struck the

     officer in the chest with the lacrosse stick and had to be forcibly restrained by

     multiple officers Id. Notwithstanding this direct physical assault with a lacrosse stick,

     Blair was ordered released with conditions. Id. at ECF 6. Like Mr. Lazar, Blair is

     charged with, inter alia, assaulting police officer using a dangerous weapon, in

     violation of 18 U.S.C. §§ 111(a)(1) and (b).

•    United States v. Michael Foy, 1:21-cr-108-TSC, Foy was captured on publicly

     available video brandishing a hockey stick and swinging it at an officer on the

     ground. Id. at ECF 1 (Complaint and Statement of Facts). Foy is later seen exhorting

     the crowd to enter the Capitol, and then crawling into the Capitol building himself

     through a broken window. Id. Like Mr. Lazar, Foy is charged with, inter alia,

     assaulting police officer using a dangerous weapon, in violation of 18 U.S.C. §§

     111(a)(1) and (b). The District Court released Mr. Foy with various conditions. Id. at

     ECF 47.

•    United States v. Clayton Ray Mullins, 1:21-cr-35-EGS, Mullins was captured on

     publicly available video and body worn camera pulling an officer into the crowd of

     rioters, away from a group of officers defending the Capitol. Id. at ECF 1

     (Complaint and Statement of Facts). Mullins, like Mr. Lazar, is charged with, inter

     alia, assaulting a police officer using a dangerous weapon, in violation of 18 U.S.C.

     §§ 111(a)(1) and (b). Mr. Mullins was released on conditions. Id. at ECF 11.


                                           8
         Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 9 of 11




       Furthermore, and most importantly, as recently held by the D.C. Circuit, this Court must

consider the specific circumstances that made the defendant’s dangerous conduct possible.

Munchel, 991 F.3d at 1283. (“The District Court also failed to demonstrate that it considered the

specific circumstances that made it possible, on January 6, for Munchel and Eisenhart to threaten

the peaceful transfer of power. The appellants had a unique opportunity to obstruct democracy

on January 6….”). Thus, if this Court follows the directive to “consider [the threat] in context,”

“it follows that whether a defendant poses a particular threat depends on the threat identified and

the resources and capabilities of the defendant.” Mr. Lazar’s was in the District on January 6th

for a peaceful, political event led by the then-current President of the United States. Mr. Lazar

does not pose a particular danger because he will not have the opportunity, capability or

resources to be a threat to democracy or to the Capitol Police. His limited participation was fully

bounded by the scope of the January 6th events.

       Taken as a whole, the Government has not shown “by clear and convincing evidence that

[Mr. Lazar] presents an identified and articulable threat to an individual or the community [so

that] a court may disable the arrestee from executing that threat.” Id. at 1282 (quoting Salerno,

481 U.S. at 751). The record does not support a finding, by clear and convincing evidence, that

Mr. Lazar presents an articulable threat. To the extent that there is any evidence that Mr. Lazar is

a threat (and counsel maintains that there is not), the Court can fashion a combination of

conditions that would reasonably mitigate that threat.

       Request to Stay Transport to the District of Columbia

       Mr. Lazar asks this Court to stay his transport to Washington, DC, pending the resolution

of this Motion. With the Court continuing to conduct matters via virtual hearings, Mr. Lazar has

been able to fully participate in all hearings from his current location in Philadelphia. Matters



                                                  9
         Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 10 of 11




will continue to be held remotely for the foreseeable future, so his presence outside of the

jurisdiction presents no actual or practical obstacle to this case’s progress. Mr. Lazar’s entire life

– his family and his businesses – are located in Pennsylvania. At the moment, he is able to see

family when they visit and, to an extent, manage his business affairs. He would no longer be

able to do either if he were transported to the District of Columbia. Mr. Lazar suffers from

chronic back pain arising out of crushed and bulging discs in his spine, and transport and

incarceration in the District of Columbia are likely to exacerbate the severity of Mr. Lazar’s

condition. Finally, transfer to the District of Columbia would necessitate Mr. Lazar being placed

into a lengthy confining quarantine upon his arrival.

       WHEREFORE, for the foregoing reasons, and any other reasons that the Court may deem

just and proper, Mr. Lazar respectfully requests that the Court release him to electronic

monitoring and/or home confinement pending the resolution of this matter, and that the Court

stay the order for transport to Washington, DC, until the resolution of this Motion.



                                                        Respectfully submitted,

                                                        ____/s/_______________________
                                                        David Benowitz
                                                        D.C. Bar No. 451557
                                                        Price Benowitz LLP
                                                        409 Seventh Street, NW
                                                        Suite 200
                                                        Washington, DC 20004
                                                        david@pricebenowitz.com
                                                        Counsel for Samuel Lazar




                                                 10
        Case 1:21-cr-00525-ABJ Document 27 Filed 09/24/21 Page 11 of 11




                              CERTIFICATE OF SERVICE

        I hereby certify that on this 24th day of September, 2021, I caused a true and correct copy
of the foregoing Motion to be delivered via CM/ECF to Assistant United States Attorney
Douglas Collyer, DOJ-USAO, Gateway Building, 14 Durkee Street, Room 340, Plattsburgh, NY,
12901.
                                                       ____/s/____________________
                                                       David Benowitz




                                                11
